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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                   NO. 4:13CR00268 JLH

MAXWELL VICTOR MASON,
JAMES VERNON MCKNIGHT,
KEITH W. BURFORD, and
AUSTIN H. TAYLOR                                                                   DEFENDANTS

                                            ORDER

       This matter was previously set for jury trial to begin at 9:15 a.m., on Tuesday, February 17,

2015. The Court has determined that the jury trial will begin at 9:30 A.M., on TUESDAY,

FEBRUARY 17, 2015, in Courtroom #4-D, Richard Sheppard Arnold United States Courthouse,

Little Rock, Arkansas. Counsel are to be present by 9:00 a.m., to take up any pretrial matters.

       Jury instructions remain due, as previously scheduled, on February 6, 2015, and should be

electronically submitted to the Court in WordPerfect format to jlhchambers@ared.uscourts.gov.

       IT IS SO ORDERED this 6th day of February, 2015.




                                                     _________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
